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                               Exhibit 17



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                                                           Page 329
                  UNITED STATES DISTRICT COURT

             OF THE DISTRICT OF MASSACHUSETTS

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   IN RE:   PHARMACEUTICAL          :    MDL NO. 1456

   INDUSTRY AVERAGE WHOLESALE       :    CIVIL ACTION

   PRICE LITIGATION                 :    01-CV-12257-PBS

   THIS DOCUMENT RELATES TO         :

   U.S. ex rel. Ven-A-Care of       :    Judge Patti B.

   The Florida Keys, Inc.,          :        Saris

                     Plaintiff,     :

            vs.                     :

   ABBOTT LABORATORIES, INC.,       :   Chief Magistrate

   No. 06-CV-11337-PBS              :   Judge Marianne B.

                     Defendants.    :        Bowler

   -----------------------------x

                                        VOLUME II

                          Baltimore, Maryland

                          Thursday, September 27, 2007

   Continued Videotape Deposition of:

                          LARRY REED,

   the witness, was called for examination by counsel

   for the Defendants, pursuant to notice, commencing




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                                202-220-4158

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                                                                          Page 330
 1
     at 9:15 a.m., at the law offices of
 2
     Hogan & Hartson, 111 South Calvert Street,
 3
     Baltimore, Maryland,             before Dawn A. Jaques,
 4
     Certified Shorthand Reporter and Notary Public in
 5
     and for the State of Maryland, when were present
 6
     on behalf of the respective parties:
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22
     (CAPTIONS CONTINUED)

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                                                                          Page 359
 1
     understanding that I reserve motion to strike so
 2
     I don't have to keep making them?
 3
                    MR. DRAYCOTT:          Sure.
 4
                    MR. MERKL:        Thank you.
 5
     BY MR. TORBORG:
 6
            Q.      So is it fair to say, then, that you
 7
     didn't have any expectation about what Abbott or
 8
     any other manufacturer was doing to cause the
 9
     pricing compendia to report specific or anything
10
     about the average wholesale prices for its
11
     products?
12
                    MS. MARTINEZ:          Objection to form.
13
                    THE WITNESS:          And that -- again, that
14
     is a fairly broad question.                 We used the AWPs
15
     both in our federal upper limits program and in
16
     looking at state plan amendments from states, so
17
     I don't think I can say that we had no
18
     expectations that those AWPs could mean any
19
     number.
20
     BY MR. TORBORG:
21
            Q.      Did you believe that Abbott or any
22
     other manufacturer was taking steps to make sure

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                                                                          Page 360
 1
     that those average wholesale prices published in
 2
     the compendia represented the actual average
 3
     selling prices to customers?
 4
                    MS. MARTINEZ:          Objection to form.
 5
                    THE WITNESS:          Our belief was that --
 6
     more so that the average wholesale prices
 7
     represented -- that the average wholesale prices
 8
     represented a number that would be reasonably
 9
     related to the cost of the drug, that when we
10
     were looking at state plans, there would be
11
     discounted AWPs, for example, or when we were
12
     looking at federal upper limits, there would be
13
     an inflation to the lowest cost AWP or lowest
14
     other price for that drug.
15
     BY MR. TORBORG:
16
            Q.      And what led to that expectation?
17
            A.      Within -- for the federal upper limits
18
     program, it's part of the reg, the regulation,
19
     that it be a published compendia price.
20
            Q.      You understood that, at least in the
21
     generic industry, prices, due to a competitive
22
     marketplace, would decline over time for

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                                                                          Page 365
 1
     manufacturers to cause to be reported in the
 2
     public pricing compendia the actual average
 3
     prices by which wholesalers sold their drugs to
 4
     customers, did it?
 5
                    MS. MARTINEZ:          Objection to form.
 6
                    THE WITNESS:          CMS did not have a
 7
     federal regulation or a policy instruction to
 8
     manufacturers on reporting average wholesale
 9
     prices.
10
     BY MR. TORBORG:
11
            Q.      Nor did HCFA expect manufacturers would
12
     do that, correct?
13
                    MS. MARTINEZ:          Objection to form.
14
                    THE WITNESS:          I don't know.          I don't
15
     think I could answer that question.                      You're
16
     speaking of more than -- more than me.
17
     BY MR. TORBORG:
18
            Q.      You yourself did not have any
19
     expectation that Abbott or any other manufacturer
20
     would cause the pricing compendia to report
21
     average wholesale prices in the compendia that
22
     reflected the actual average of prices sold by a

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                                                                          Page 366
 1
     host of -- drug prices from wholesalers to
 2
     customers; is that right?
 3
            A.      My personal expectation?
 4
            Q.      Correct.
 5
            A.      My expectation would be that those
 6
     prices would be if you were in the ballpark for a
 7
     drug, that -- that -- knowingly that there was
 8
     discounts in the state plan amendments to those
 9
     AWPs, the federal upper limits would use the AWPs
10
     again or other prices from the pricing compendia
11
     to set the federal upper limit for that drug.
12
            Q.      And what -- why did you think that the
13
     prices should be in the ballpark?
14
            A.      Again, because the state plan
15
     amendments have to reflect estimated acquisition
16
     cost, which, if the state decides to use a
17
     discounted AWP, would be their best estimate of
18
     the price that the provider generally pays for
19
     that drug.
20
            Q.      And you knew in your work reviewing OIG
21
     report after OIG report, which we'll get to
22
     today, that for many drugs the average -- the

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                                                                          Page 367
 1
     average wholesale prices published in the
 2
     compendia were no relationship whatsoever to the
 3
     actual prices being reported, correct?
 4
                    MS. MARTINEZ:          Objection to form.
 5
                    MS. POLLACK:          Objection to form.
 6
                    THE WITNESS:          I don't think that is
 7
     correct.       The average wholesale price, again, as
 8
     reflected in the state plans by the discount, was
 9
     intended to reflect the estimated acquisition
10
     cost which would have a relationship to what the
11
     provider would pay for that drug.
12
     BY MR. TORBORG:
13
            Q.      Okay.      And do you recall reviewing any
14
     --
15
                    UNIDENTIFIED ATTORNEY:               Objection non-
16
     responsive.
17
                    MR. MERKL:        Yeah, I agree.
18
     BY MR. TORBORG:
19
            Q.      Mr. Reed, you reviewed several OIG
20
     reports during your time from 1990 up until today
21
     even that specifically discussed the relationship
22
     between actual invoice prices and the average

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                                                                          Page 427
 1
     the cost of a drug to a physician?
 2
                    MS. MARTINEZ:          Objection to form.
 3
                    MR. HERNANDEZ:           Objection to form.
 4
                    THE WITNESS:          This is a Medicare
 5
     report, and I don't -- again, I don't remember
 6
     having any dealings with this report, and
 7
     Medicare would be different than Medicaid in that
 8
     the majority of the drugs would be used by
 9
     physicians; Medicaid, it would not be so.
10
     BY MR. TORBORG:
11
            Q.      Move to strike as non-responsive.
12
                    My question was, Mr. Reed, at some
13
     point in your career at HCFA, did you come to
14
     learn that AWP was not a reliable indicator of
15
     the cost of the drug to a pharmacy or a
16
     physician?
17
                    MS. MARTINEZ:          Objection to form.
18
                    THE WITNESS:          AWP is a -- I think
19
     saying that it's not a reliable indicator is
20
     going too far.
21
     BY MR. TORBORG:
22
            Q.      Why is that?

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                                                                          Page 428
 1
             A.     That AWP within -- with a discount was
 2
     viewed by both the states and by the federal
 3
     government in an application of FULs as an
 4
     indicator of the price of drugs.
 5
             Q.     But OIG indicated in this report back
 6
     in 1992 that AWP was not a reliable indicator,
 7
     did they not?
 8
                    MR. HERNANDEZ:           Objection, form.
 9
                    THE WITNESS:          That in this specific
10
     report, the OIG did say -- let's see if I can
11
     read it -- I'm sorry, I want to go back and find
12
     that. Okay.         I see it.
13
                    In this report, OIG did say AWP is not
14
     a reliable indicator, that's correct.
15
     BY MR. TORBORG:
16
             Q.     And did you believe OIG was wrong?
17
                    MR. HERNANDEZ:           Objection, form.
18
                    THE WITNESS:          In -- I'm sorry, in this
19
     report?
20
     BY MR. TORBORG:
21
             Q.     Would it be fair to say that in 1992,
22
     OIG felt AWP was not a reliable indicator of the

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